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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               Case No. 21-cv-21940-BLOOM/Torres


   NEIMA BENAVIDES, as Personal
   Representative of the Estate of Naibel
   Benavides Leon, deceased,

          Plaintiff,

   v.

   TESLA, INC., a/k/a Tesla Florida, Inc.,

          Defendant.
                                             /
   DILLON ANGULO,                                                         Case No. 22-22607-KMM

          Plaintiff,

   v.

   TESLA, INC. a/k/a Tesla Florida, Inc.,

          Defendant.
                                             /



                           JOINT UPDATED TRIAL WITNESS LIST
         The Parties, jointly through their undersigned counsel, and in accordance with this

  Honorable Court’s request and specifications as provided in the Calendar Call which took place

  on Tuesday, July 8, hereby provide this updated Trial Witness list, as follows:
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        I.   Plaintiffs’ “Will Call” list


                                                                                         If
                                                                                     presented
                                                                                        via         Time
                            Scope of
No. Name                                           Personal Background              deposition    Estimate
                            Testimony
                                                                                       only,       (Total)
                                                                                    anticipated
                                                                                       date
                                            Ms. Leon is the mother and survivor
1.                          Fact Witness    of Naibel Benavides. She currently
       Lilia Leon Jimenez                                                                -          1.25
                            Damages         lives in New Jersey but still spends
                                            substantial time in Miami.
                                            Mr. Benavides is the father and
2.     Guillermo            Fact Witness
                                            survivor of Naibel Benavides. He             -          1.25
       Benavides            Damages
                                            currently lives in New Jersey,
                                            Mrs. Benavides is the sister of
                                            Naibel Benavides, and also serves as
3.                          Fact Witness    the personal representative for the
       Neima Benavides                                                                   -          1.25
                            Damages         Estate of Naibel Benavides and is one
                                            of the parties bringing this lawsuit.
                                            She currently lives in New Jersey.
                                            Dillon Angulo was injured in this
                                            collision and is one of the parties
                                            bringing this lawsuit. He was raised
4.                          Fact Witness
       Dillon Angulo                        in Miami Dade County and splits his          -          2.0
                            Damages
                                            time between his own home in the
                                            Florida Keys and his parents’ home
                                            in Miami.
                                            Mrs. Angulo is Dillon Angulo’s
5.                          Fact Witness
       Dawn Angulo                          mother. She lives with her husband           -          1.25
                            Damages
                                            Victor in Miami.
                                            Mr. Angulo is Dillon Angulo’s
6.                          Fact Witness
       Victor Angulo                        father. He lives with his wife Dawn          -          1.25
                            Damages
                                            in Miami.
                                            George McGee was the driver of the
7.                          Fact Witness
       George McGee                         Tesla vehicle involved in this               -          2.5
                            Liability
                                            collision. He lives in Boca Raton
                                            Retired Corp. David Riso was Florida
8.     Ret. Corp. David     Fact Witness    Highway Patrol’s lead traffic
                                                                                         -
       Riso                 Liability       homicide investigator for this                          2.0
                                            collision. He lives in Italy.
9.                          Fact Witness    Akshay Phatak is an Engineering          Tuesday
       Akshay Phatak                                                                                1.25
                            Liability       Manager at Tesla and serves as one        7/15
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                                                                                      If
                                                                                  presented
                                                                                     via         Time
                          Scope of
No. Name                                        Personal Background              deposition    Estimate
                          Testimony
                                                                                    only,       (Total)
                                                                                 anticipated
                                                                                    date
                                         of Tesla’s Designated Corporate
                          (Tesla Corp    representatives in this case. Mr.
                          Rep)           Phatak lives in California.

                          Fact Witness
                                         Eloy Rubio Blanco is a Staff Product
                          Liability                                              Friday 7/18
                                         Support Engineer at Tesla, and serves
10.                                                                                and/or
      Eloy Rubio Blanco                  as one of Tesla’s Designated                            2.0
                          (Tesla Corp                                             Monday
                                         Corporate Representatives in this
                          Rep)                                                      7/21
                                         case. Mr. Rubio lives in Spain.
                                         David Shoemaker is a software
                                         engineer and data specialist employed
11.                       Fact Witness
      David Shoemaker                    by Tesla in their Autopilot Telemetry Friday 7/18
                          -Liability                                                           1.0
                                         team. Mr. Showmaker lives in
                                         California.
                                         Michael Calafell is Tesla Field
12.                       Fact Witness
      Michael Calafell                   Technical Specialist. Miami. Mr.           -          .75
                          Liability
                                         Calafell lives in Miami.
                                         Alan Moore is a mechanical and
                                         forensic engineer and accident
13.                       Expert         reconstructionist and the principal of
      Alan Moore                                                                    -
                          Liability      A.B. Moore Forensic Engineering.                      4.0
                                         He currently lives in the Orlando
                                         area.
                                         Dr. Cummings is a professor and
      Mary                               director of the Autonomy and
14.                       Expert
      “Missy”Cummings                    Robotics Center at George Mason            -
                          Liability                                                            6.5
      , Ph.D.                            University. Dr. Cummings lives in
                                         Virginia.
                                         Dr. Mendel E. Singer, is an Associate
                                         Professor and Vice Chair for
                                         Education in the Department of
                                         Population & Quantitative Health
15.                       Expert         Sciences at Case Western Reserve
      Mendel Singer,                                                                -      2.2
                          Liability      University School of Medicine, and
      Ph.D.
                                         Director of Research for the
                                         university’s Jewish Community
                                         Health Initiative. Dr. Singer resides in
                                         Ohio.
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                                                                                     If
                                                                                 presented
                                                                                    via         Time
                           Scope of
No. Name                                      Personal Background               deposition    Estimate
                           Testimony
                                                                                   only,       (Total)
                                                                                anticipated
                                                                                   date
                                       Dr. Jason Lewis is a forensic data
16.                        Expert
      Jason Lewis, Ph.D.               specialists. Dr. Lewis resides in             -        1.5
                           Liability
                                       Tampa.
                                       Fire Lieutenant Jonathan Saldana is a
                           Treating
17.                                    firefighter – paramedic who works
      Jonathan Saldana     EMS                                                       -              .75
                                       for Ocean Reef. Mr. Saldana lives in
                           personnel
                                       Homestead.
                                       Dr. Louis Pizano is a trauma and
                                       critical care surgeon at Jackson
                                                                                 Monday
18.                        Treating    Memorial’s Ryder Trauma Center He
      Dr. Louis Pizano                                                            7/21              1.0
                           physician   was Dillon Angulo’s attending
                                       critical care and trauma physician at
                                       Jackson Hospital.
                                       Bill Reader is a physical therapist
                           Treating
19.   William “Bill”                   specializing in chronic pain
                           physical                                                  -              1.0
      Reader                           rehabilitation. He works for Elite
                           therapist
                                       Physical Therapy in Miami.
                                       Dr. Danielle Bodzin Hornis an
                                       Assistant Professor of Clinical
                                       Anesthesiology at the University of
                                       Miami Miller School of Medicine
                                       and the Program Director of the
20.                        Treating                                                  -
      Dr. Danielle Horn                Interventional Pain Medicine                                 1.5
                           physician
                                       Fellowship at Jackson Memorial
                                       Hospital. Dr. Horn serves as Dillon
                                       Angulo’s interventional pain
                                       management physician.

                                       Dr. Kester J. Nedd is a neurologist
                                       and neurological rehabilitation
                                       specialist based in Miami Lakes,
21.                        Expert      Florida. He currently practices at the
      Dr. Kester Nedd                                                                -              1.5
                           Damages     Design Neuroscience Center, serves
                                       as a voluntary associate professor of
                                       neurology at the University of Miami
                                       Miller School of Medicine.
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                                                                                          If
                                                                                      presented
                                                                                         via         Time
                             Scope of
No. Name                                           Personal Background               deposition    Estimate
                             Testimony
                                                                                        only,       (Total)
                                                                                     anticipated
                                                                                        date
                                            Dr. Sally Russell, Ph.D., is a
22.    Dr. Sally Russell     Expert         neuropsychologist. Dr. Russell                -          1.5
       Kolitz                Damages        resides in Miami.

                                            Dr. Carlos E. Plasencia, is a licensed
23.    Dr. Carlos            Treating
                                            Mental Health Counselor. His                  -          1.5
       Placencia             psychologist
                                            practice is located in Pembroke Pines.
                                            Monica Snyder, is a licensed
24.                          Treating
       Monica Snyder                        Marriage and Family Therapist based           -          1.5
                             therapist
                                            in Miami, Florida.
                                            Dr. Craig H. Lichtblau, MD is a
25.                          Expert         Physical Medicine and Rehabilitation
       Dr. Craig Lichtblau                                                                -          1.5
                             Damages        (Physiatry) based in North Palm
                                            Beach, Florida.




        II.   Plaintiffs’ “May Call” list


                                                                                          If
                                                                                      presented
                                                                                         via         Time
                             Scope of
No. Name                                           Personal Background               deposition    Estimate
                             Testimony
                                                                                        only,       (Total)
                                                                                     anticipated
                                                                                        date
                                            Robert Sumwalt III was a former
1.                           Fact Witness   board member of the National
       Robert Sumwalt                                                                     -          1.75
                             Liability      Transportation Safety Board Mr.
                                            Sumwalt resides in Virginia.
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       III.   Tesla’s “Will Call” list


                                                                                              If
                                                                                          presented
                                                                                             via           Time
                             Scope of
No. Name                                              Personal Background                deposition      Estimate
                             Testimony
                                                                                            only,         (Total)
                                                                                         anticipated
                                                                                            date
                                               Eloy Rubio Blanco is a Tesla Staff
                                               Product Support Engineer at Tesla,
                             Tesla
1.     Eloy Rubio                              and serves as one of Tesla’s
                             corporate                                                         -               4.0
       Blanco                                  Designated Corporate
                             representative
                                               Representatives in this case. Mr.
                                               Rubio lives in Spain.
                                               Dr. David Cades is a Practice
2.     David Cades,          Expert            Director and Principal Scientist at
                                                                                               -               4.3
       Ph.D.                 Liability         Exponent. Dr. Cades resides in
                                               Illinois.
                                               Ryan Harrington is a mechanical and
                                               automotive engineer and the
3.                           Expert
       Ryan Harrington                         Corporate Vice President and                    -               4.3
                             Liability
                                               Principal at Exponent. Mr.
                                               Harrington resides in Massachusetts
                                               James Walker, Jr. is a mechanical and
4.                           Expert            accident reconstructionist and with
       James Walker                                                                            -               3.6
                             Liability         Carr Engineering, Inc. Mr. Walker
                                               currently resides in Houston, Texas.
                                               Joel Torres is a former officer with
                                               the Monroe County Sheriff’s Office.
                                               Officer Torres was the first officer on
5.     Officer Joel M.                         the scene of the accident He owns a
                             Fact witness                                                      -               1.6
       Torres 1                                Greek Food Truck in the Keys and
                                               also is a part time instructor for the
                                               College of the Keys. He currently
                                               resides in Key Largo.




       1
        Former Office Torres will not be called to testify if the parties are able to agree on the admission
       of Officer Torres’ body cam footage.
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       IV.   Tesla’s “May Call” list


                                                                                         If
                                                                                     presented
                                                                                        via         Time
                           Scope of
No. Name                                         Personal Background                deposition    Estimate
                           Testimony
                                                                                       only,       (Total)
                                                                                    anticipated
                                                                                       date
                                          Dr. Barry Crown is a licensed
1.                                        psychologist and clinical
       Barry Crown, M.D. Tesla Expert                                                    -          2.3
                                          neuropsychologist in Miami, Florida.
                                          He resides in Pensacola, Florida.
                                          Mr. Del Rio is a paramedic/first
                                          responder with Ocean Reef Fire
2.                         Fact Witness
       Alejandro Del Rio                  Department in Key Largo, Florida. It           -          0.9
                           - Paramedic
                                          is believed that Mr. Del Rio resides in
                                          Homestead.
                                          Dr. Fernandez is an orthopedic
                                          surgeon. He is currently employed at
                                          Fernandez Orthopedics, PA. in Coral
3.     Rafael Fernandez,
                           Tesla Expert   Gables, Florida. He is affiliated with         -          2.3
       Jr., M.D.
                                          multiple local hospitals including
                                          Baptist Doctors Hospital and Baptist
                                          Health South Miami Hospital.
                                          David Hulse is a Supervisor-
4.                         Fact witness   Paramedic/first responder with Ocean
       David Hulse                                                                       -          0.9
                           - Paramedic    Reef Fire Department in Key Largo,
                                          Florida.
                                          Dr. Bruce Kohrman is a neurologist
                                          at South Miami Neurology, LLC and
5.     Bruce Kohrman,                     Utah Orthopedic Spine and Injury
                           Tesla Expert                                                  -          2.3
       M.D.                               Center. He is affiliated with South
                                          Miami Hospital and Doctors
                                          Hospital.
                                          Former Trooper Odel Mosquera was
6.     Trooper Odel        Fact Witness   employed with the Florida Highway
                                                                                         -          0.9
       Mosquera            - FHP          Patrol. It is unknown where he
                                          currently resides.
                                          Chris Payne is Tesla Autopilot
7,                         Tesla
       Chris Payne                        Engineer. He currently resides in              -          2.3
                           Employee
                                          California.
                                          Oscar Pinzon is a paramedic with
8.                         Fact Witness
       Oscar Pinzon                       Key Largo Rescue. Mr. Pinzon lives             -          0.9
                           - Paramedic
                                          in Miami.
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                                                                                       If
                                                                                   presented
                                                                                      via         Time
                            Scope of
No. Name                                          Personal Background             deposition    Estimate
                            Testimony
                                                                                     only,       (Total)
                                                                                  anticipated
                                                                                     date
                                           Carlos Rosario-Flores is a former
                                           Traffic Homicide Investigator with
                            Fact Witness
9.     Corp. Carlos                        the Florida Highway Patrol Since
                            – Former                                                   -          2.3
       Rosario-Flores                      2021, he has been a School Resource
                            FHP
                                           Officer for the Miami-Dade Schools
                                           Police Department.
                                           At the time of the accident, Karen
                            Fact Witness   Elizabeth Saldina Santibanez was the
10.    Karen Elizabeth
                            – scene        lead supervisor at the Beach Bar in         -          0.9
       Saldina Santibanez
                            witness        Ocean Reef in Key Largo. Ms.
                                           Sandina resides in Homestead.
                                           David Shoemaker is a Tesla
11.                         Tesla
       David Shoemaker                     Autopilot Manager. He resides in            -          2.3
                            Employee
                                           California.
